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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Newport News Division


  UNITED STATES OF AMERICA                      )
                                                )
                 v.                             )       CRIMINAL NO. 4:20cr17-001
                                                )
  KARL BURDEN-EL BEY,                           )
    a/k/a Carl L. Burden,                       )
                                                )
         Defendant.                             )


              POSITION OF DEFENDANT WITH RESPECT TO SENTENCING
               FACTORS, OBJECTIONS TO THE PRESENTENCE REPORT
                     AND MOTION FOR DOWNWARD VARIANCE

         Defendant Karl Burden-El Bey, by and through counsel, pursuant to this Court’s

  Sentencing Guideline Order, submits this position with respect to the advisory sentencing

  guidelines and the statutory sentencing factors enumerated in 18 U.S.C. § 3553(a). Mr. Burden-El

  Bey entered a plea of not guilty to all counts of the Indictment and does not admit or agree that he

  knowingly committed any of the criminal acts charged in the Indictment for which he was

  convicted at trial. Accordingly, Mr. Burden-El Bey respectfully objects to the entirety of the

  offense conduct information contained in the Presentence Investigation Report (PSR).

         In addition to considering the advisory sentencing guidelines, at sentencing the Court

  should consider the sentencing factors enumerated in 18 U.S.C. § 3553(a). After considering Mr.

  Burden-El Bey’s personal history and background the Court must “make an individualized

  assessment” as to the appropriate sentence. Gall v. United States, 552 U.S. 38, 53-60 (2007);

  Pepper v. United States, 562 U.S. 476 (2011). The Court’s “overarching” duty is to impose a

  sentence that is “sufficient, but not greater than necessary to accomplish the goals of sentencing.”

  Kimbrough v. United States, 552, U.S. 85, 101 (2007). Given Mr. Burden-El Bey’s military

  service, his age and disability, and the non-violent nature of the offense, Mr. Burden-El Bey
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  respectfully requests a sentence which credits him for the time already served and allows for any

  additional incarceration to be served through home confinement during a period of three years of

  supervised release on Counts One through Thirty-One. Mr. Burden-El Bey respectfully requests a

  concurrent sentence of credit for the time already served on the misdemeanor tax offenses charged

  in Counts Thirty-two through Thirty-six. Mr. Burden-El Bey further requests that any restitution

  ordered by the Court be offset by any payments made to the Internal Revenue Service by any

  government taxpayer witnesses.

          I.     Procedural Background

          Mr. Burden-El Bey was charged by indictment on March 10, 2020, with aiding and abetting

  in the preparation of false tax returns, in violation of Title 26, United States Code, Section 7206(2)

  (Counts One through Thirty), theft of $5,000.00 in government funds paid as a refund to taxpayers

  Stevie and Michon Blowe, in violation of Title 18, United States Code, Sections 641 and 2 (Count

  Thirty-One), and failing to file personal tax returns for the years 2013 through 2017, a

  misdemeanor offense in violation of Title 26, United States Code, Section 7203. He was arrested

  on March 12, 2020, and conditions of release were set by the Court. At arraignment on March 16,

  2020, Mr. Burden-El Bey entered his plea of not guilty. On July 31, 2020, the Office of the Federal

  Public Defender was permitted to withdraw as counsel of record and the undersigned counsel was

  appointed. The government’s motion to amend the indictment to reflect the defendant’s legal name

  of Karl Burden-El Bey was granted on October 5, 2020. Trial was initially scheduled for February

  1, 2021, but was continued for jury selection on July 6, 2021, and evidence to begin on July 7,

  2021.

          Trial commenced on July 6, 2021, and on July 9, 2021, the jury returned its verdict finding

  Mr. Burden-El Bey guilty on each of the pending counts of the Indictment. A Presentence


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  Investigation Report was directed, and a Sentencing Guideline Order was entered directing the

  parties to file sentencing pleadings fourteen days before sentencing. ECF 101. After the jury

  returned their verdict, the Court revoked Mr. Burden-El Bey’s bond and remanded him to custody.

  During the time of his pre-trial release Mr. Burden-El Bey was fully compliant with the terms and

  conditions of release, although an allegation surfaced recently indicating that Mr. Burden-El Bey

  applied for a passport, the application was not granted, and a United States passport has not issued.

  Sentencing is scheduled for December 14, 2021, at 12:00 p.m. in Newport News before United

  States District Judge David J. Novak.

         II.     Sentencing Guidelines - Objections to Offense Conduct and Restitution

         A. Objection Generally to Paragraphs 5 to 21.

         In light of his plea of not guilty and decision to proceed to trial, Defendant objects generally

  to all of the information contained in the offense conduct section of his PSR, including Paragraphs

  5 through 21, and Paragraphs 26, 27, 34 and 79. Mr. Burden-El Bey does not admit that he

  knowingly committed any of the criminal acts alleged in the Indictment. Mr. Burden-El Bey

  acknowledges that if the tax loss is determined to be $302,911, pursuant to U.S.S.G. §§2T1.1(a)(1)

  and 2T4.1(G) the base offense level would be 18. Mr. Burden does not admit that he was in the

  business of preparing tax returns such that the two-level enhancement pursuant to U.S.S.G.

  §2T1.4(b)(1)(B) applies, but he agrees that he is in Criminal History Category I. If the adjusted

  offense level is determined to be 20, with a Criminal History Category I, Defendant acknowledges

  that the advisory sentencing guidelines recommend a range of 33-41 months.

         B. Objection to Paragraph 13.

         In addition, Mr. Burden-El Bey specifically objects to the information contained in

  Paragraph 13 attributing an additional tax loss to Mr. Burden-El Bey of $53,668 based on four


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  taxpayer witnesses that did not testify at the trial. Mr. Burden-El Bey maintains that it is a violation

  of his Fifth and Sixth Amendment guarantees of due process and the right to confront the witnesses

  against him to include hearsay information from taxpayer witnesses that did not testify during his

  trial in his PSR. Without the additional tax loss from relevant conduct in Paragraph 13 which was

  not proven at trial, the government’s estimation of the total tax loss would be only $249,243, which

  would reduce the base offense level from 18 to 16, pursuant to U.S.S.G. §§2T1.1(a)(1) and

  2T4.1(F). If the offense level is reduced to 16, and the defendant does not receive a two-level

  enhancement for being in the business of preparing tax returns, the advisory sentencing guidelines

  would be reduced to 21-27 months. Defendant acknowledges that the inclusion of information not

  proven at trial has been approved by the Fourth Circuit and comports with the Federal Rules of

  Evidence. United States v. Seay, 553 F.3d 732, 741-42 (4th Cir. 2009); see also Fed. R. Evid.

  1101(d)(3); and U.S.S.G. §6A1.3(a). Mr. Burden-El Bey seeks to preserve this claim for future

  litigation.

          C. Restitution – Request for Offset

          While restitution of $5,000 on Count Thirty-one is mandatory, Mr. Burden-El Bey agrees

  with the United States that it is within the Court’s discretion to forego restitution for the Title 26

  tax violations charged in Counts One through Thirty, and Thirty-two through Thirty-six of the

  Indictment. Mr. Burden-El Bey asks that the Court consider his age, disability and financial

  condition and determine that he is not able to make restitution on these counts. Defendant also

  notes that any improper financial gains were realized by the government’s taxpayer witnesses and

  he specifically objects to any restitution being ordered that is not offset by payments made to the

  Internal Revenue Service by the government’s taxpayer witnesses for tax years 2013 through

  2018.


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         III.    Requests for Corrections to the PSR and Objection to Standard Condition 7

         On November 16, 2021, Mr. Burden-El Bey requested the Probation Officer to correct his

  identifying data on page 3 of his PSR to reflect his race as “Native of the Land” because this is

  how he self-identifies, and to indicate that he has one dependent because he has previously

  provided financial support for his 92-year-old mother. Neither change was made by the United

  States Probation Office and Mr. Burden-El Bey respectfully requests that the Court make these

  changes to his PSR at sentencing. Mr. Burden-El Bey also requests that his PSR be clarified at

  page 18, Paragraph 51 to reflect that he is a life-long resident of Virginia, but during his military

  service he resided for periods of time in North Carolina, Georgia, Kentucky and Canada. This

  correction has not yet been made. Mr. Burden-El Bey also wishes to clarify at page 20, Paragraph

  53 that his marital status is divorced and advises that his ex-wife filed the legal documents in or

  about 1998 and she has since remarried.

         Mr. Burden-El Bey also specifically objects to Standard Condition Number 7 of

  Supervised Release which requires him to work full time during any period of supervised release

  ordered as part of his sentencing. Mr. Burden-El Bey is 66 years of age and receives a disability

  pension from the Department of Veterans Affairs and Social Security disability benefits.

  Defendant objects to this Standard Condition being included as a term of supervised release

  because of his disability.

         IV.     Statutory Sentencing Factors and Motion for Downward Variance

         A. History and Characteristics of Defendant

         Mr. Burden-El Bey is 66 years of age and has been determined by the Department of

  Veterans Affairs (VA) to be disabled. His 92-year-old mother resides in New York and his father

  passed away in 2011. He is the youngest of six siblings, two of whom reside in the Hampton Roads


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  area. He has an older brother that served in the United States Marines and an older sister that is

  employed as a corrections officer. He withdrew from high school to enlist in the United States

  Army but went on to earn his GED in 1978. PSR ¶s 61, 62. He served on active duty from 1972

  until 1974, and then as a reservist from 1974 to 2003. During much of his military duty, he served

  as a military police officer before retiring with a rank of E-8. PSR ¶ 67. He has attended non-credit

  college classes at Thomas Nelson Community College, Tidewater Community College and Old

  Dominion University, but has not yet earned a college degree. PSR ¶s 63-66. While serving as a

  reservist, Mr. Burden-El Bey also worked in the private sector in various security positions. PSR

  ¶ 71.

          Mr. Burden-El Bey grew up playing football, baseball and other sports. PSR ¶50. As an

  adult, he has participated in community outreach programs and coached youth football, basketball

  and softball teams. PSR ¶54. Mr. Burden-El Bey has consistently been a person that sought to give

  back to his community. He has an excellent relationship with his three children and his daughter

  Lakeisha describes him as her best friend.

          B. Medical Condition and Care

          In 2012 Mr. Burden-El Bey was determined to be disabled by the Department of Veterans

  Affairs, and in 2019 he began receiving a supplemental Social Security disability benefit. PSR ¶

  72. Records from the VA have been reviewed by the United States Probation Officer. Mr. Burden-

  El Bey has been diagnosed with Post-Traumatic Stress Disorder (PTSD) and depressive disorder

  and suffers from back and shoulder region pain. He is also borderline Type 2 diabetic. His medical

  conditions, in particular his back injury which impact his legs, cause him to be at a high risk of

  falling. Mr. Burden-El Bey reports that his mobility problems are related to his fall from the back

  of a truck while on active duty. As a result of these injuries Mr. Burden-El Bey requires a scooter


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  or wheelchair for mobility. In or about 2010, Mr. Burden-El Bey was homeless until he began

  receiving care at the Hampton VA mental health campus. At the VA facility PTSD was diagnosed

  due to Mr. Burden-El Bey’s exposure to an extremely violent training accident in the mid-1970’s.

  Mr. Burden-El Bey’s PTSD is triggered by loud noises and being around unfamiliar people. Both

  of which have been problematic at Western Tidewater Regional Jail.

         While in custody at Western Tidewater Regional Jail (WTRJ) he has struggled with

  nightmares and recurring episodes of PTSD. PSR ¶s 56-59. Mr. Burden-El Bey’s recent lack of

  sleep due to recurring nightmares and loud noises has negatively impacted his overall medical

  condition. He has lost almost 30 pounds since his bond was revoked on July 9, 2021. While the

  staff at WTRJ have attempted to accommodate his medical and dietary issues certain of the

  accommodations have been difficult. For example, WTRJ has provided him with a single cell in

  a medical unit, but it is directly adjacent to the pod for persons diagnosed with COVID-19 that are

  in quarantine.

         Until his bond was revoked, he lived with the help of an aid in a single-family residence

  in Hampton, Virginia. A sentence which can be served in home confinement based on the non-

  violent nature of the offense would be sufficient to meet the goals of sentencing in this case. If a

  sentence of imprisonment in the Bureau of Prisons (BOP) is imposed, Defendant requests that the

  Court make recommendations in the Judgment to the BOP regarding his medical needs.

         C. Motion for Downward Variance

         The PSR recommends a base offense level 20, which based on Mr. Burden El-Bey’s

  criminal history of I, results in an advisory sentencing guidelines range of 33 to 41 months. Mr.

  Burden-El Bey respectfully requests that the Court downwardly depart from this advisory range

  and impose a sentence which can be served on home confinement. This would allow Mr. Burden-


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  El Bey to continue with medical care through the Department of Veterans Affairs and if necessary

  to receive inpatient care at the Hampton VA campus. Said period of home confinement could be

  ordered as a special condition of supervised release. Mr. Burden-El Bey’s health has substantially

  declined since his bond was revoked and he was remanded to custody over five months ago. A

  sentence of home confinement with credit for the time served since July 9, 2021, adequately

  promotes respect for the law, provides just punishment and deterrence, but would also provide the

  defendant with the opportunity to continue with medical care through the VA.

         V.      Conclusion

         Accordingly, Defendant Burden-El Bey respectfully requests that the Court sentence him

  to a term of imprisonment with credit for the time already served and the balance to be served on

  home confinement during a three-year period of supervised release on Counts One through Thirty-

  One, and a concurrent term of credit for time already served on Counts Thirty-two through Thirty-

  six. Mr. Burden-El Bey contends that a sentence that could be served on home confinement is

  sufficient, but not greater than necessary, to comply with the purposes of sentencing. If the Court

  imposes a sentence of incarceration in the Bureau of Prisons, Mr. Burden-El Bey respectfully

  requests that the Court make a recommendation to the Bureau of Prisons as part of his sentence

  for him to receive medical care for Post-Traumatic Stress Disorder, borderline type II diabetes,

  and shoulder and back pain while incarcerated.

                                                 Respectfully submitted,

                                                 KARL BURDEN-EL BEY


                                           By:          /s/
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                                                 Virginia State Bar No. 39268
                                                 Attorney for Defendant Burden-El Bey
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on November 30, 2021, I will electronically file the foregoing with the

  Clerk of the Court using the CM/ECF system, which will then send an electronic notification

  (NEF) of such filing to the following and all counsel of record:


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         I further certify that a copy of the foregoing Position with Respect to Sentencing Factors

  will be sent via email to the following:

                 Kalyn Monreal
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                 United States District Courthouse
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